                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

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                                                 )
 SECURITIES AND EXCHANGE                         )
 COMMISSION,                                     )
                                                 )
                  Plaintiff,                     )
                                                 )
        vs.                                      )
                                                 )               No. 3:12-CV-519
 REX VENTURE GROUP, LLC                          )
 d/b/a ZEEKREWARDS.COM, and PAUL                 )
 BURKS,                                          )
                                                 )
                 Defendants,                     )
                                                 )
                                                 )

                                                ORDER

       THIS MATTER is before the Court upon the request of the Receiver for an order

instructing Unclaimed Property Division of the State of Colorado Department of the Treasury

(“Colorado Unclaimed Property Division”) to pay to the Receiver all unclaimed funds being held

that originated from cashier’s checks, certified checks, teller checks and money orders that were

made payable to Rex Venture Group, LLC, Zeek Rewards, or any close variation thereof,

including but not limited to the specific cashier’s checks, certified checks, teller checks and

money orders included in the claim submitted by the Receiver on or about April 22, 2020,

designated Claim ID 5797556.

       The Court finds that its August 17, 2012 Order already requires that the Colorado

Unclaimed Property Division pay all funds in its possession, custody or control from uncashed

cashier’s checks, certified checks, teller checks and money orders made payable to Rex Venture

Group, LLC, Zeek Rewards, or any close variation thereof, to the Receiver. The Court further

finds that the properties included in the Claim ID 5797556 are Receivership Property and should

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be paid to the Receiver. Nevertheless, in the interest of facilitating a prompt payment of the

Receiver’s claim, the Court will agree to issue another order specific to these properties to the

Colorado Unclaimed Property Division.

       IT IS, THEREFORE, ORDERED that the Colorado Unclaimed Property Division pay to

the Receiver, within twenty-one (21) days of receipt of this Order, all funds in its possession,

custody or control from uncashed cashier’s checks, certified checks, teller checks, and money

orders made payable to Rex Venture Group, LLC, Zeek Rewards, or any close variation thereof,

including, but not limited to, those funds or properties associated with Claim ID 5797556 as

identified below:

      Property ID 15323486, cashier’s check, Bank of Colorado, payable to Rex Venture
       Group in the amount of $1,960.00.
      Property ID 15639339, cashier’s check, Keybank National Association, payable to Rex
       Venture Group LLC in the amount of $3,700.00.
      Property ID 16601124, cashier’s check, Denver Community Credit Union, payable to
       Rex Venture Group LLC Account in the amount of $1,000.00.
      Property ID 16809625, cashier’s check, FirstBank, payable to Rex Venture Group in the
       amount of $175.00.
      Property ID 16809626, cashier’s check, FirstBank, payable to Rex Venture Group in the
       amount of $975.00.
      Property ID 16809627, cashier’s check, FirstBank, payable to Rex Venture Group LLC
       Account in the amount of $3,920.00.
      Property ID 16874613, cashier’s check, Wells Fargo Bank, N.A., payable to Rex Venture
       Group LLC in the amount of $100.00.
      Property ID 18127506, money order, Wells Fargo Bank, N.A., payable to Rex Venture
       Group LLC in the amount of $1,000.00.
      Property ID 18127507, money order, Wells Fargo Bank, N.A., payable to Rex Venture
       Group LLC in the amount of $500.00.



                                                     Signed: October 20, 2020




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